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                     IN THE UNITED STATES DISTRICT COURT
 1                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
                      SAN FRANCISCO / OAKLAND DIVISION
 2
     CAROLYNN TAYMUREE, an                             Case No. 4:16-cv-06138-YGR
 3   individual, and ZOHRA
     RICHARDSON, an individual,
 4                                                     [PROPOSED] ORDER STAYING
                  Plaintiff,                           CASE PENDING OUTCOME OF
 5                                                     RELATED SUPERIOR COURT
           v.                                          ACTION
 6
     NATIONAL COLLEGIATE                               *AS MODIFIED BY THE COURT*
 7   STUDENT LOAN TRUST 2007-2, a
     Delaware Statutory Trust;
 8   TRANSWORLD SYSTEMS, INC., a
     California Corporation; PATENAUDE
 9   & FELIX, A PROFESSIONAL
     CORPORATION, a California
10   corporation; and DOES 1 through 10,
     inclusive,
11
               Defendants.
12   ____________________
13         Based on the stipulation of all parties, through their respective counsel of
14   record, the above-captioned case is hereby stayed until such time that the related state
15   court action, NCSLT v. Carolynn Swanson and Zohra Taymuree, Sup. Ct. Case No.
16   L15-03053, currently pending in the Superior Court of California in and for the
17   County of Contra Costa Motion, is concluded.
18         The Court SETS a compliance hearing regarding the status of the pending state
19   court action for Friday, October 20, 2017 at 9:01 a.m. in the Federal Building, 1301
20   Clay Street, Oakland, California, Courtroom 1. No later than October 13, 2017, the

21   parties must file a joint statement updating the Court on the status of the pending

22   action in state court. If compliance is complete, the Court may vacate the hearing

23
     and the parties need not appear. Failure to comply may result in sanctions.

24
           IT IS SO ORDERED.

25
           Date: _______________
                  March 20, 2017                      __________________________
26                                                    Judge Yvonne Gonzalez Rogers
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28
                       [Proposed] Order Granting Joint Stipulation to Stay Case
